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                              IN THE UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                         (Eugene Division)


NAOMI WISHART')
                                                    Case No.:
                 Plaintiff,
        V                                           COMPLAINT FOR UNLAWFUL
                                                    DISCRIMINATION IN EMPLOYMENT
LANE COLINTY SHERIFF'S OFFICE., A                   Violation of Title VIl,42 U.S.C. $$ 2000e-2
governmental agency of Lane County,                 and 2000e-3; ORS 659A.030

                Defendant.                          DEMAND FOR JURY TRIAL



        Plaintiff Naomi Wishart alleges the following:

                                       JURISDICTION

                                               1.


        This Court has original jurisdiction over Plaintiffs federal statutory claims under

28 U.S.C. $ 1331 and 42 U.S.C. $ 2000e-5(f)(3). This Court has supplemental jurisdiction over

Plaintiffs pendant state claims under 28 U.S.C. $ 1367.




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                                              VENUE

                                                2.

         Venue is proper in the District of Oregon, Eugene Division, because the Defendant

resides within the State of Oregon and all of the events giving rise to the claims occurred in Lane

County in the State of Oregon. 28 U.S.C. $ 1391(b).

                                            PARTIES
                                                a
                                                J.


         Plaintiff Naomi Wishart is a female individual and resident of Lane County. Ms. Wishart

worked for defendant LCSO as a Deputy Sheriff in the Lane County Adult Correctional Center

from July 28,2014, until she was unlawfully terminated on August 28,2019.

                                                4.

         Defendant Lane County Sheriffls Office ("LCSO") is a governmental agency of Lane

County. At all times material, LCSO acted by and through its agents and employees, who were

acting in the course and scope of their employment and in furtherance of LCSO's interests.

                                              FACTS

                                                5.


       Ms. Wishart was very effective at her job and regularly received high ratings in her

performance evaluations and commendations for her work. Ms. Wishart routinely received an

overall rating of "Exceeds Expectations" as well as positive feedback from her supervisors. Until

her termination, Ms. Wishart was never subject to any discipline, having zero sustained

allegations of misconduct that resulted in discipline from the beginning of her employment until

the incident for which LCSO terminated her.


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                                                    6.

          The Lane County Adult Correctional Facility is a highly male-dominated workplace. Less

than ten percent (10%) of the deputies working for LCSO at that location are female.

                                                    7.


          This male dominance manifests itself in a number of ways. For example, the East Annex

Control post was referred to as "bitch in the box." The East Annex Control post got that

nickname because it was where pregnant women would be assigned because, due to the

configuration of the post, they would not be exposed to any physical interactions with inmates.

To this day, that post is still referred to as "bitch in the box."

                                                    8.


          Another example of this male dominance isthat the female housing unit of the South

Annex, which houses female inmates, is referred to as the "bitches' side."

                                                    9.

        LCSO command staff was aware that LCSO employees referred to the East Annex

Control post as "bitch in the box" and the South Annex as the o'bitches' side," but did nothing to

correct those sexist terms.

                                                    10.


        Consistent with that male-dominated environment, LCSO maintains an unlawful

mandatory overtime policy that imposes significantly more mandatory overtime on female

deputies than male deputies. Under this policy, LCSO requires both male and female deputies to

work standard mandatory overtime. However, LCSO also requires female deputies to work

additional, female-targeted mandatory overtime without making any adjustments in the standard


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mandatory overtime assignments those female deputies are assigned. The combination of

assigning female-only overtime and significantly lower female deputy numbers results in female

deputies being assigned to significantly greater overtime that their male counterparts.

                                                   11.


          LCSO claims that the female-only mandatory overtime is not discriminatory because

being female is a Bona Fide Occupational Qualification ("BFOQ") for those shifts where female-

only mandatory overtime is required as a way to ensure the privacy rights of female inmates and

avoid cross-gender pat down and cavity searches of female inmates. LCSO refers to those

mandatory overtime assignments as "BFOQ overtime."

                                                   12.

          Respondent's claimed "BFOQ" mandatory overtime as it was structured when Ms.

Wishart was employed by LCSO is not reasonably necessary to the operations of the Lane

County Adult Correctional Facility.

                                                   13.


          One proposed solution to the excess mandatory overtime assigned to female deputies was

to take account of the fact that female deputies are exposed to more overtime than male deputies

and compensate for that fact by limiting the amount of general mandatory overtime assigned to

female deputies who have already worked a female-only mandatory overtime shift. LCSO

considered and rejected that solution because, in the words of LCSO command staff, it might

"lead to . . . the creation of resentment from the male staff[.]"

                                                   14.

       There are numerous other ways to address the need to have female personnel available to


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conduct necessary searches of female inmates without imposing greater mandatory overtime

burdens on female deputies. For example, other agencies utilize command staff as needed, call

in female offtcers from patrol or other agencies, or allow other sworn personnel such as records

clerks to conduct searches of female inmates when a female deputy is not available. However,

when Ms. Wishart raised these possible solutions, LCSO rejected them out of hand, telling Ms.

Wishart that it would not consider other agencies' solutions to the issue.

                                                  15.

          LCSO does not consistently enforce its BFOQ requirements to ensure female inmate

privacy rights.

                                                  16.

          For example, two of the units at the Lane County Adult Correctional Facility, the intake

and segregation units, house both male and female inmates, yet generally are staffed exclusively

with only male deputies. At that housing unit, LCSO simply does not conduct pat down or

cavity searches of female inmates, even after those inmates have had contact visitation with

people from outside the institution. Another example of this failure is that male deputies

frequently conduct unannounced unit searches where female inmates are unclothed and

showering.

                                                  t7.

       LCSO has similarly made exceptions to the female staffing levels at locations that it

claims are BFOQ posts for female deputies, allowing fewer than the standard number of female

deputies   it claims are necessary to run the facility. LCSO has allowed exceptions for certain

female deputies to do things such as canning vegetables or letting their dog out of their in-home


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kennel. On at least one occasion, LCSO assigned Ms. Wishart a BFOQ mandatory overtime

shift, but then relieved her half-way through that shift with a male deputy.

                                                  18.


          Ms. Wishart has consistently questioned and voiced her opposition to LCSO's

discriminatory mandatory overtime policy for years, since shortly after she started serving as a

Deputy Sheriff.

                                                  19.


          Ms. Wishart became particularly vocal in her opposition to this policy in the Spring of

20T9, after LCSO forced her to miss a court-ordered visitation between her ex-husband and her

children by requiring her to work a BFOQ mandatory overtime shift.

                                                  20.

          On or around June 12, 2019, Ms. Wishart met with command staff to yet again raise her

concems about the discriminatory female-only mandatory overtime policy. Command staff

again either discounted or refused to consider the possible solutions that she offered to eliminate

the discriminatory policy.

                                                  21.

       On or around June29,2019, LCSO again ordered Ms. Wishart to accept a female-only

  mandatory overtime.

                                                  22.

       Ms. Wishart had worked a mandatory overtime on her previous shift and was

approximately 21st on the general list for mandatory overtime. Nonetheless, LCSO indicated

that Ms. Wishart would need to take the mandatory overtime shift.


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                                                  23.

          Ms. Wishart initially asked that an exception be made because she had long-standing

plans for that evening, which Respondent refused. Ms. Wishart also attempted to f,rnd another

female deputy to cover her shift, but that effort was not fruitful.

                                                  24.

          Eventually, LCSO indicated that Ms. Wishart could satisf'the mandatory overtime by

working the first two hours of it because they had found someone to come in early. However, at

that point, after years of having raised the issue with no positive response and with all of her

efforts to reasonably change the policy summarily ignored by Command Staff, Ms. Wishart

decided that she needed to more strongly oppose this disuiminatory policy. Accordingly, she

refused to work the mandatory overtime shift.

                                                  25.

        As the result of Ms. Wishart's refusal to work that shift, she was terminated from her

position as a Deputy Sheriff with the Lane County Sheriffs Office on or around August 28,

2019.

                                                  26.

        As a result of LCSO's conduct described above, Ms. Wishart has suffered economic

damages, including lost wages, benefits, PERS benefits, and costs of retraining, in an amount to

be specifically proved attrial, but currently estimated not to exceed $691,000. Additionally, Ms.

Wishart has suffered noneconomic damages in a specific amount to be decided by a jury, not to

exceed $250,000.




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                                                 27.

          Ms. Wishart has attempted to mitigate her damages.

                                                28.

          Ms. Wishart has exhausted her administrative remedies before both the Equal

Employment Opportunity Commission and the Oregon Bureau of Labor and Industries. Ms.

Wishart received a notice of right to sue from the EEOC on August 17,2020. Ms. Wishart

received a notice of right to sue from BOLI on May 29,2020.


                                     CLAIMS FOR RELIEF
                                      First Claim for Relief
     (Violationof TitleVII,42 U.S.C. $ 2000e-2-DisparateTreatmentonAccountof Sex)

                                                29.

       Plaintiff Naomi Wishart realleges the allegations set forth above.



                                                30.

       As set forth above, Ms. Wishart was subjected to disparate treatment on account of her

sex by being forced to work overtime in excess of her male colleagues.

                                                31.

       As a result, Ms. Wishart has suffered noneconomic damages in an amount to be

specifically proven attrial not to exceed $50,000. In addition to any compensatory relief she is

awarded, Ms. Wishart is entitled to her reasonable attorney fees under 42 U.S.C. $ 2000e-5(k).




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                                       Second Claim for Relief

                      (Violation of Title V[,42 U.S.C.   $ 2000e-3   -   Retaliation)

                                                   32.

          Plaintiff Naomi Wishart realleges the allegations set forth above.

                                                   33.

          As set forth above, Ms. Wishart engaged in protected activity by opposing discrimination

directed at her on account of her sex and insisting that LCSO correct the same.

                                                 34.

          As set for.th above, LCSO was aware of Ms. Wishart's reports of discrimination and

retaliated against her on account of that protected activity, which included allowing or creating a

hostile work environment and terminating her employment.

                                                   35.

       Ms. Wishart reported her concerns about a hostile work environment to LCSO. LCSO

failed to effectively remediate Ms. Wishart's concerns and to take any steps to deter future

harassment, which led to additional acts of hostility against Ms. Wishart.

                                                   36.

       Defendant's retaliation would dissuade a reasonable person in Ms. Wishart's

circumstances from engaging in protected activity.

                                                  37.

       As a result of this retaliation, Ms. Wishart has suffered economic damages in an amount

to be specifically proven at trial not to exceed $691,000. Ms. Wishart has also suffered

noneconomic damages in an amount to be specifically proven attrial not to exceed $200,000. In


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addition to any compensatory relief she is awarded, Ms. Wishart is entitled to her reasonable

attorney fees under 42 U.S.C. $ 2000-e 5(k).


                                     Third Claim for Relief
             (Violation of ORS 659A.030    -   Disparate Treatment on Account of Sex)

                                                  38.

        Plaintiff Naomi Wishart realleges the allegations set forth above.

                                                  39.

       As set forth above, Ms. Wishart was subjected to disparate treatment on account of her

sex by being forced to work overtime in excess of her male colleagues.

                                                  40.

       As a result, Ms. Wishart has suffered noneconomic damages in an amount to be

specifically proven at trial not to exceed $50,000. In addition to any compensatory relief, Ms.

Ringhand is entitled to her reasonable attorney fees under ORS 6594.885.

                                     Fourth Claim for Relief

                            (Violation of ORS 6594.030     -   Retaliation)

                                                  41.

       Plaintiff Naomi Wishart realleges the allegations set forth above.

                                                  42.

       As set forth above, Ms. Wishart engaged in protected activity by opposing discrimination

directed at her on account of her sex and insisting that LCSO correct the same.

                                                  43.

       As set forth above, LCSO was aware of Ms. Wishart's reports of discrimination and


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 retaliated against her on account of that protected activity, which included allowing or creating a

 hostile work environment and terminating her employment.

                                                 44.

        Ms. Wishart reported her concerns about a hostile work environment to LCSO. LCSO

failed to effectively remediate Ms. Wishart's concerns and to take any steps to deter future

harassment, which led to additional acts of hostility against Ms. Wishart.

                                                  45.

        Defendant's retaliation would dissuade a reasonable person in Ms. Wishart's

circumstances from engaging in protected activity.

                                                  46.

        As a result of this retaliation, Ms. Wishart has suffered economic damages in an amount

to be specifically proven attrial not to exceed $691,000. Ms. Wishart has also suffered

noneconomic damages in an amount to be specifically proven at trial not to exceed $200,000. In

addition to any compensatory relief, Ms. Ringhand is entitled to her reasonable attorney fees

under ORS 659A.885.

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                                  PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Naomi Wishart prays for relief as follows:

      1.     For judgment in her favor in the amount of $941,000;

      2.     For her reasonable attorney fees;

      3.     For her reasonable costs incurred herein; and

      4.     For such other relief as the Court deems just and proper.




      DATED this24th day of August,2020.

                                   HAGLUND KELLEY LLP


                                   s/ Christonher
                                   Christopher Lundberg, OSB No. 941084
                                   Matthew E. Malmsheimer, OSB 033847
                                   Attorneys for Plaintiff




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